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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE
 7
     UNITED STATES OF AMERICA,                              NO. CR17-229-JLR
 8
                                     Plaintiff,
 9
            v.                                              DETENTION ORDER
10

11   JUNG MIN KANG, aka “Chino,”

12                                   Defendant.

13

14   Offense charged:

15          Count 1:         Conspiracy to Distribute Controlled Substances

16   Date of Detention Hearing: October 3, 2017.

17              The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

19          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          1.        Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

21   defendant is a flight risk and a danger to the community based on the nature of the pending

22   charges.

23          2.        Defendant has stipulated to detention, but reserves the right to contest his

24   continued detention if there is a change in circumstances.

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            3.      There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required or ensure the safety of the
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     community.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
 8
                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
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            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
14
                    purpose of an appearance in connection with a court proceeding; and
15
            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
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            DATED this 3rd day of October, 2017.
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20                                                AJAMES P. DONOHUE
21                                                 Chief United States Magistrate Judge
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     18 U.S.C. § 3142(i)
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